                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           STATESVILLE DIVISION
                           5:09-CR-00025-KDB-DCK
 USA                                         )
                                             )
    v.                                       )              ORDER
                                             )
 KENNETH LEE TRAVIS                          )
                                             )


         THIS MATTER is before the Court upon motion of the defendant pro se for a

reduction of sentence based on the First Step Act of 2018 (Doc. No. 316) and a

request for appointment of counsel (Doc. No 317)

         The defendant pled guilty to conspiracy to possess with intent to distribute

cocaine, cocaine base, methamphetamine and marijuana, in violation of 21 U.S.C.

§841(b)(1)(A) and (b)(1)(B) (Count One), Section 404(c) of the First Step Act

specifies that a court “shall not entertain” a reduction motion where the sentence

was imposed in accordance with the Fair Sentencing Act of 2010. Here, the

defendant was sentenced on September 20, 2012, (Doc. No. 249: Judgment at 1),

well after the effective date of the Fair Sentencing Act. Therefore, he is not eligible

for a sentence reduction under the First Step Act.

         The defendant also asks the Court to appoint him counsel to assist him with

his request for a sentence reduction under the First Step Act. However, “a criminal

defendant has no right to counsel beyond his first appeal.” United States v. Legree,

205 F.3d 724, 730 (4th Cir. 2000) (quoting Coleman v. Thompson, 501 U.S. 722, 756

(1991). “Though in some exceptional cases due process does mandate the



     Case 5:09-cr-00025-KDB-DCK Document 319 Filed 11/04/19 Page 1 of 2
appointment of counsel for certain postconviction proceedings, . . . [a] motion for

reduction of sentence does not fit into this category.” Legree, 205 F.3d at 730

(internal citation omitted).

      IT IS, THEREFORE, ORDERED that the defendant’s motions, (Doc. No.

316) and (Doc. No. 317) are DENIED.

      The Clerk is directed to certify copies of this Order to the defendant, the

Federal Defender, the United States Attorney, the United States Marshals Service,

and the United States Probation Office.


                                     Signed: November 4, 2019




                                           2



     Case 5:09-cr-00025-KDB-DCK Document 319 Filed 11/04/19 Page 2 of 2
